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                              United States District Court
                                 NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

 UNITED STATES OF AMERICA,                         §
                                                   §
                         v.                        §                 CASE NO. 3:19CR00312-S
                                                   §
                                                   §
 ALFREDO NAVARRO HINOJOSA (01)                     §
 AGUSTIN HINOJOSA NAVARRO (02)                     §


                                       PRETRIAL ORDER

 Pretrial Motions Deadline                         August 2, 2019

 Response/Reply to Pretrial Motions Deadline       August 16, 2019/August 23, 2019

 Pretrial Material Deadline                        August 23, 2019

 Pretrial Conference                               August 30, 2019 at 10:00 a.m.

 Trial Setting                                     September 3, 2019 at 9:00 a.m.



       1.        This case is set for trial on this Court’s docket beginning September 3, 2019, at

9:00 a.m. Counsel and all parties shall be ready for trial on that date. Any potential scheduling

conflicts must be called to the attention of the Court in writing within ten (10) days of the date of

this Order. The parties shall comply with the Federal Rules of Criminal Procedure and the Local

Criminal Rules of this Court except as expressly modified by this Order.

       2.        By July 19, 2019, the Government shall provide full discovery to each defendant

in accordance with FED. R. CRIM. P. 16(a). By July 26, 2019, each defendant shall provide full

discovery to the Government in accordance with Rule 16(b).

       3.        By July 26, 2019, the Government shall, in accordance with Brady v. Maryland,

373 U.S. 83 (1963), provide each defendant with all of the exculpatory evidence it possesses

concerning that defendant.
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        4.      The Government shall provide each defendant with all Jencks Act material (18

U.S.C. § 3500) on the day prior to the testimony of the witness to whom such material relates.

Each defendant shall do likewise.

        5.      By August 2, 2019, all pretrial motions shall be filed, and they must comply with

Local Criminal Rule 47.1. See N.D. Tex. Crim. R. 47.1. Discovery motions and motions for a bill

of particulars shall be denied in their entirety unless they are limited to the specific matters actually

in dispute, after conference with opposing counsel, as required by Local Criminal Rule 47.1(a).

        6.      By August 16, 2019, the Government’s response to the pretrial motions shall be

filed, and any reply by each defendant shall be filed by August 23, 2019.

        7.      By August 23, 2019, all pretrial materials shall be filed. Specifically, by this date:
                       a. A list of witnesses shall be filed by each party, which
                divides the persons listed into groups of “probable witnesses,”
                “possible witnesses,” “experts,” and “record custodians;” states the
                name and address of each witness; and contains a brief narrative
                summary of the testimony to be covered by each witness.
                (Modification of Local Criminal Rule 16.1(b)).
                         b. A list of exhibits and portions of deposition to be offered
                at trial shall be filed by each party. In addition, each party shall
                number the listed exhibits with labels (which the parties must
                provide themselves); shall exchange a complete set of marked
                exhibits with opposing counsel; and shall deliver to the Court’s
                chambers one hard copy and one digital copy of the marked exhibits
                (except for large or voluminous items that cannot be easily
                reproduced). (Modification of Local Criminal Rule 16.1(a)). All
                documentary exhibits offered by the Government shall be
                submitted on a thumb drive at the conclusion of trial to the
                Court Reporter.
                         c. On the day the case is set for trial, additional copies of the
                list of witnesses and list of exhibits (as required by Local Criminal
                Rules 16.1(a) and (b)) shall be delivered to the Court Reporter by
                each party.
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                         d. Requested jury instructions (annotated),1 any motions
                 in limine (which must be limited to matters actually in dispute), and
                 any proposed voir dire questions the Court is requested to ask
                 during its examination of the jury panel and proposed findings in
                 non-jury cases shall be filed by each party. (Modification of Local
                 Criminal Rule 30.1).
                         e. A written statement shall be filed by each party setting
                 forth: (i) the estimated length of trial; (ii) the status of any plea
                 bargaining negotiations; (iii) any scheduling problems which the
                 attorneys, parties, or witnesses have during the trial docket; and (iv)
                 any additional matters which would aid the Court in the
                 disposition of this case.
                         f. Trial briefs, if any, shall be filed. In the absence of a
                 specific order, trial briefs are not required but are encouraged. The
                 briefs should focus on Fifth Circuit and Supreme Court authority on
                 the issues the parties anticipate will arise at trial.
NOTE: Deadlines are dates for filing or delivery of pretrial materials, not mailing dates.

        8. The final pretrial conference in this case is set for August 30, 2019, at 10:00 a.m.

Lead counsel must attend the pretrial conference. All pretrial motions not previously decided will

be heard and resolved at that time, and procedures for trial will be discussed. Defendant(s) need

not be present at the pretrial conference.

        9. NOTE: Sanctions may be imposed if these pretrial requirements are not met. If

the Government does not timely file the pretrial materials, the case may be dismissed. Any

defendant who does not timely file the required pretrial materials may not be permitted to present

witnesses or exhibits at trial. Failure to list a witness or an exhibit may be grounds for exclusion

of that testimony or exhibit, unless such exhibits or witness testimony is offered solely for



1 “Annotated” means that each proposed instruction shall be accompanied by citation to statutory or case
authority and/or pattern instructions. It is not sufficient to submit a proposed instruction without citation to
supporting authority. As Fifth Circuit and Supreme Court cases are the only binding precedent on this Court,
the parties should – to the extent possible – rely on these sources (and/or Fifth Circuit pattern instructions)
in proposing jury instructions.
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impeachment. The use of rebuttal exhibits or witnesses shall be permitted if counsel could not

have reasonably anticipated their need for use at trial.

        10. In multi-defendant cases, any motions to continue the pretrial deadlines and/or the trial

setting must include a certificate of conference with the Government and the attorneys for each

defendant with whom the moving defendant is set for trial.

        11. All counsel are directed to advise the Court at least four (4) days before trial, if a

plea agreement has been reached. If such an agreement has been reached, except in unusual

circumstances where such cannot reasonably be done, counsel must furnish an executed copy to

the Court at least three (3) days before trial. Counsel should be mindful that a last-minute trial

cancellation inconveniences all the citizens who have come to serve as jurors and wastes taxpayer

money. To avoid such a cancellation, counsel should endeavor to complete plea negotiations prior

to the date scheduled for trial.

        12. Questions about this scheduling order or about any other matters related to this case

should be directed to this Court’s Courtroom Deputy by calling (214) 753-2291 or by e-mail at

Lori_Munoz@txnd.uscourts.gov. E-mails must include the case name and number, as well as

your contact information. Opposing counsel must be copied.

        SO ORDERED.

                SIGNED the 8th day of July, 2019.




                                                      ____________________________________
                                                      KAREN GREN SCHOLER
                                                      UNITED STATES DISTRICT JUDGE
